      Douglas R. Ricks, OSB #044026
      Christopher N. Coyle, OSB #073501
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
      Fax: 503-241-3731

               Of Attorneys for RODA, LLC, Debtor-in-Possession


                             IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF OREGON

       In re                                          Case No. 23-30250-thp11

       RODA, LLC                                      APPLICATION FOR AUTHORITY TO
                                                      EMPLOY SPECIAL COUNSEL (Jim Boness of
                Debtor-in-Possession.                 Intellequity Legal Services LLC)

                                                   NOTICE

               If you oppose the proposed course of action or relief sought in this Application, you

      must file a written objection with the bankruptcy court no later than fourteen (14) days after

      the date listed in the certificate of service below. If you do not file an objection, the court

      may grant the Application without further notice or hearing. Your objection must set forth the

      specific grounds for objection and your relation to the case. The objection must be received

      by the clerk of court at 1050 SW 6th Avenue #700, Portland, OR 97204, by the deadline

      specified above or it may not be considered. You must also serve the objection on Debtor,

      c/o Douglas R. Ricks, Vanden Bos & Chapman, LLP, 319 SW Washington Street, Suite

      520, Portland, Oregon 97204, (503) 241-4869, within that same time. If the court sets a

      hearing, you will receive a separate notice listing the hearing date, time, and other relevant

      information.




Page 1 of 3    APPLICATION FOR AUTHORITY TO EMPLOY SPECIAL COUNSEL (Jim               VANDEN BOS & CHAPMAN, LLP
                                                                                                 Attorneys at Law
               Boness of Intellequity Legal Services LLC)                               319 SW Washington Street, Suite 520
                                                                                           Portland, Oregon 97204-2690
                                                                                                  (503) 241-4869
                            Case 23-30250-thp11       Doc 26    Filed 02/17/23
                                              APPLICATION

              Pursuant to 11 U.S.C. §327 and Bankruptcy Rule 2014, Debtor-in-Possession,

      RODA, LLC (“Debtor”), makes application to the court for entry of the Proposed Order

      attached hereto as Exhibit A (“Proposed Order”) for authority to employ Jim Boness,

      Intellequity Legal Services LLC, 111 SW Ave., Suite 3150, Portland, OR 97204, Phone

      (503) 877-0881 (the “Professional”) as special counsel to advise Debtor on limited liability

      company matters, including but not limited to, negotiating leases on behalf of Debtor and

      managing the filings of the limited liability company with the Oregon Secretary of State and

      other formalities, i.e., resolutions, annual minutes, etc., associated with the continued

      operation of the limited liability company, which is an expertise possessed by the selected

      Professional. In support of this application, Debtor represents:

              1.    On February 6, 2023 (the “Petition Date), Debtor filed a petition under Chapter

      11 of the United States Bankruptcy Code.

              2.    Debtor wishes to employ the Professional as its special counsel in this

      proceeding.

              3.    Debtor has selected Professional for the reason that Professional has

      substantial experience in the area of corporate/limited liability company law and contract

      law.

              4.    To the best of Debtor's knowledge, the Professional has no connection with

      the creditors or any other adverse party or its attorneys, except as disclosed in the Verified

      Statement in Support of Employment Application on file herein.

              5.    To the best of Debtor's knowledge, the Professional represents no interest




Page 2 of 3   APPLICATION FOR AUTHORITY TO EMPLOY SPECIAL COUNSEL (Jim             VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
              Boness of Intellequity Legal Services LLC)                             319 SW Washington Street, Suite 520
                                                                                        Portland, Oregon 97204-2690
                                                                                               (503) 241-4869
                          Case 23-30250-thp11       Doc 26    Filed 02/17/23
      adverse to Debtor, except as disclosed in the Verified Statement in Support of Employment

      Application on file herein.

              6.      The proposed rate of compensation, subject to final court approval, is the

      customary, hourly rates in effect when services are performed by the attorneys, legal

      assistants and staff who provide services to the Debtor. The proposed terms of employment

      are as set forth in the Attorney/Client Fee Agreement, a copy of which is attached as

      Exhibit 1 to the Proposed Order which has been executed by the Debtor and Jim Boness of

      Intellequity Legal Services LLC. The current hourly rates are as follows:

                   Name                                              Hrly Rate
                   Jim Boness                                         $150.00

      These hourly rates are subject to periodic adjustment to reflect economic conditions and

      increased experience and expertise. Professional’s fees are estimated at not more than

      $6,000.00 for services for approximately the next 120 days. Compensation shall not exceed

      $10,000.00 for the above services, without further application to the Court.

              WHEREFORE, Debtor prays:

              1.      Debtor be authorized to employ and appoint Professional as special counsel to

      Debtor-in-Possession in this proceeding under Chapter 11 of the Bankruptcy Code.

              2.      Debtor further prays for approval of the form of Order (Exhibit A) attached

      hereto and the terms and conditions of Professional's employment as set forth in

      Engagement Agreement attached thereto as Exhibit 1 and this Application.

       DATED: February 17, 2023                 VANDEN BOS & CHAPMAN, LLP

                                                By:/s/Christopher N. Coyle
                                                  Douglas R. Ricks, OSB #044026
                                                  Christopher N. Coyle, OSB #073501
                                                  Of Attorneys for Debtor-in-Possession


Page 3 of 3   APPLICATION FOR AUTHORITY TO EMPLOY SPECIAL COUNSEL (Jim            VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
              Boness of Intellequity Legal Services LLC)                             319 SW Washington Street, Suite 520
                                                                                        Portland, Oregon 97204-2690
                                                                                               (503) 241-4869
                            Case 23-30250-thp11      Doc 26   Filed 02/17/23
                              IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF OREGON

         In re                                      Bankruptcy Case Nos.:

         RODA, LLC,                                 23-30250-thp11 (Lead Case)
         and
         Roy MacMillan,                             23-30159-thp11

                                                    Jointly Administered Under
                                                    Case No. 23-30250-thp11

                                                    ORDER FOR THE EMPLOYMENT OF
                                                    SPECIAL COUNSEL FOR DEBTOR (Jim
                                                    Boness of Intellequity Legal Services LLC)
                        Debtors-in-Possession.

                 THIS MATTER having come before the court upon the application of Debtor-in-

        Possession, RODA, LLC (“Debtor”), praying for authority to employ and appoint as special

        counsel Jim Boness of Intellequity Legal Services LLC ("Professional") to represent Debtor-

        in-Possession as special counsel to advise Debtor on limited liability company matters,

        including but not limited to, negotiating leases on behalf of Debtor and managing the filings

        of the limited liability company with the Oregon Secretary of State and other formalities, i.e.,


Page 1 of 3   ORDER FOR THE EMPLOYMENT OF SPECIAL COUNSEL FOR DEBTOR (Jim              VANDEN BOS & CHAPMAN, LLP
                                                                                                  Attorneys at Law
              Boness of Intellequity Legal Services LLC)                                 319 SW Washington Street, Suite 520
                                                                                            Portland, Oregon 97204-2690
EXHIBIT A - Page 1 of 10                                                                           (503) 241-4869


                             Case 23-30250-thp11      Doc 26    Filed 02/17/23
        resolutions, annual minutes, etc., associated with the continued operation of the limited

        liability company, and that the connections disclosed in the Verified Statement in Support of

        Employment Application on file herein does not constitute adverse interests, that

        Professional represents no interest adverse to the Debtor-in-Possession herein on the

        matters upon which Professional is to be engaged, or to the estate, (except as disclosed in

        the Verified Statement in Support of Employment Application on file herein), that

        Professional’s employment is necessary and would be in the best interest of the estate, and

        the time for filing an objection having expired and the Court being otherwise fully advised, it

        is hereby

               ORDERED that:

               1.     Debtor is authorized to employ Professional to serve as special counsel to

        represent and advise Debtor on limited liability company matters, including but not limited to,

        negotiating leases on behalf of Debtor and managing the filings of the limited liability

        company with the Oregon Secretary of State and other formalities, i.e., resolutions, annual

        minutes, etc., associated with the continued operation of the limited liability company. The

        terms and conditions of the employment of Professional, are set forth in the Engagement

        Agreement attached as Exhibit 1.

               2.     Compensation shall be set by the court in accordance with 11 U.S.C. § 330.

        Unless modified by future Order of this Court, the Professional's fees shall not exceed

        $10,000.00.




Page 2 of 3   ORDER FOR THE EMPLOYMENT OF SPECIAL COUNSEL FOR DEBTOR (Jim             VANDEN BOS & CHAPMAN, LLP
                                                                                                 Attorneys at Law
              Boness of Intellequity Legal Services LLC)                                319 SW Washington Street, Suite 520
                                                                                           Portland, Oregon 97204-2690
EXHIBIT A - Page 2 of 10                                                                          (503) 241-4869


                            Case 23-30250-thp11       Doc 26    Filed 02/17/23
               3.    This Order shall be effective only if the Professional to which it applies does

        not hold or represent an interest adverse to the estate and is a "disinterested person" as

        defined by 11 U.S.C. §101(14).

                                                     ###

        PRESENTED BY:

         VANDEN BOS & CHAPMAN, LLP                            First Class Mail:

                                                              RODA, LLC
         By:/s/Douglas R. Ricks                               Roy MacMillan
            Douglas R. Ricks, OSB #044026                     20407 SW Borchers Dr.
            Christopher N. Coyle, OSB #073501                 Sherwood, OR 97140
            Of Attorneys for Debtor-in-Possession
                                                              Jim Boness
                                                              Intellequity Legal Services LLC
         LBR 9021-1 CERTIFICATION                             111 SW 5th Ave Ste 3150
         I certify that I have complied with the              Portland OR 97204
         requirement of LBR 9021-1(a); Order was
         attached to the Motion].                             Electronic Mail:

                                                              The foregoing was served on all
         By:/s/Douglas R. Ricks                               CM/ECF participants through the
            Douglas R. Ricks, OSB #044026                     Court's Case Management/Electronic
            Christopher N. Coyle, OSB #073501                 Case File system




Page 3 of 3   ORDER FOR THE EMPLOYMENT OF SPECIAL COUNSEL FOR DEBTOR (Jim            VANDEN BOS & CHAPMAN, LLP
                                                                                                Attorneys at Law
              Boness of Intellequity Legal Services LLC)                               319 SW Washington Street, Suite 520
                                                                                          Portland, Oregon 97204-2690
EXHIBIT A - Page 3 of 10                                                                         (503) 241-4869


                            Case 23-30250-thp11      Doc 26    Filed 02/17/23
EXHIBIT A - Page 4 of 10
    EXHIBIT 1 - Page 1 of 7   Case 23-30250-thp11   Doc 26   Filed 02/17/23
EXHIBIT A - Page 5 of 10
    EXHIBIT 1 - Page 2 of 7   Case 23-30250-thp11   Doc 26   Filed 02/17/23
EXHIBIT A - Page 6 of 10
    EXHIBIT 1 - Page 3 of 7   Case 23-30250-thp11   Doc 26   Filed 02/17/23
EXHIBIT A - Page 7 of 10
    EXHIBIT 1 - Page 4 of 7   Case 23-30250-thp11   Doc 26   Filed 02/17/23
EXHIBIT A - Page 8 of 10
    EXHIBIT 1 - Page 5 of 7   Case 23-30250-thp11   Doc 26   Filed 02/17/23
EXHIBIT A - Page 9 of 10
    EXHIBIT 1 - Page 6 of 7   Case 23-30250-thp11   Doc 26   Filed 02/17/23
EXHIBIT A - Page 10 of 10
    EXHIBIT 1 - Page 7 of 7   Case 23-30250-thp11   Doc 26   Filed 02/17/23
                       UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF OREGON

 In re                                             23-30250-thp11 (Lead Case)
 RODA, LLC                                Case No. 23-30159-thp11
 Roy MacMillan                              Amended

                                          VERIFIED STATEMENT IN SUPPORT OF
 Debtor                                   EMPLOYMENT APPLICATION

Instructions to filer: This statement must be completed by each person proposed to be
employed under 11 U.S.C. § 327, 1103, or 1114. If the application also seeks approval
of employment of my firm, this form must be completed and signed on behalf of the firm
by the member, associate, or employee of the firm who is expected to be primarily
responsible for the engagement. If the firm is a law firm proposed to provide services in
the case or an associated adversary proceeding, this form must be completed on behalf
of the firm by the attorney of record. Any amended statement must include “Amended” in
the title, be complete, and clearly identify changes from the previous filed version.
Italicized text below constitutes further instructions.

I, ___________________________________________,
   Jim Boness                                             make this statement in support
of the application for approval of my employment by [enter name of proposed employer,
for example, name of debtor in possession, trustee, or creditors committee]
_____________________________________________
RODA, LLC                                                  (employer). If the application
also seeks approval of employment of my firm, I make this statement on behalf of myself,
my firm, and each other member, associate, or employee of my firm whom I expect to
perform services for the employer in or in connection with this case, and each statement
below is on behalf of each of those persons. Otherwise, paragraphs 2.3 and 2.5 below
do not apply to this statement.

1. Disinterestedness

   1.1. I am not a creditor of the debtor except:
          N/A




   1.2. I am not an equity security holder of the debtor.

   1.3. I am not and was not, within two years before the date of the filing of the petition,
        a director, officer, or employee of the debtor.

   1.4. I do not have an interest materially adverse to the interest of the estate or of any
        class of creditors or equity security holders by reason of any direct or indirect
        relationship to, connection with, or interest in the debtor or for any other reason.


1114 (12/1/2022)                        Page 1 of 4

                    Case 23-30250-thp11       Doc 26    Filed 02/17/23
2. Insider status

   2.1. I am not a relative of the individual debtor [“Relative” means an individual related
        by affinity or consanguinity within the third degree as determined by the common
        law or individual in a step or adoptive relationship within that third degree.]
   2.2. I am not a relative of an individual general partner of the debtor.

   2.3. My firm is not a partnership in which the debtor is a general partner.

   2.4. I am not a general partner of or in the debtor.

   2.5. My firm is not a corporation of which the debtor is a director, officer, or person in
        control. [“Corporation” has the meaning in 11 U.S.C. § 101(9) and includes
        limited liability company but not limited partnership.]

   2.6. I am not an officer or director of the debtor.

   2.7. I am not a person in control of the debtor.

   2.8. I am not a relative of a general partner, director, officer, or person in control of
        the debtor.

   2.9. If the debtor is a municipality, I am not an elected official of the debtor or a relative
        of an elected official of the debtor.

   2.10. I am not a managing agent of the debtor.

3. Affiliates of the debtor [If the debtor has no affiliates, the affiliates list should say
   “None.” In the balance of this statement, “affiliate” means an affiliate on the affiliates
   list below.]

   3.1. If I am an attorney proposed for employment as general bankruptcy counsel for
        the trustee or chapter 11 debtor in possession, the trustee or debtor in
        possession has with my advice prepared the list below of the debtor’s affiliates,
        as that term is defined in 11 U.S.C. § 101(2), including each affiliate’s name and
        relationship to the debtor.

   3.2. If I am not an attorney described in paragraph 3.1 above, I have obtained from
        the trustee, chapter 11 debtor in possession, or the general bankruptcy counsel
        for the trustee or debtor in possession the list below of the debtor’s affiliates,
        prepared in accordance with paragraph 3.1 above.

   3.3. I am not an affiliate or an insider of an affiliate as if such affiliate were the debtor.
        [“Insider” includes persons and other entities having a relation to the debtor
        listed in part 2 above.]




1114 (12/1/2022)                          Page 2 of 4

                     Case 23-30250-thp11        Doc 26     Filed 02/17/23
4. Employment by chapter 11 committee

   If I am proposed to be employed by a chapter 11 committee of creditors, equity-
   security holders, or retirees, I do not represent any other entity having an adverse
   interest in connection with the case.

5. Connections

   I have no business, professional, personal, financial, or other connections with the
   debtor, affiliates, creditors, any party in interest, their respective attorneys and
   accountants, the United States trustee, or any person employed in the office of the
   United States trustee except:
   I currently represent Oregon Ice Entertainment, Inc., partly owned by Roy MacMillan,
   who is also part owner of Roda, LLC. In addition, I represent Stumptown Ice, Inc.,
   also owned by Roy MacMillan.




6. Compensation

   6.1. If I am an attorney representing the debtor in or in connection with this case, the
        following are the details of all compensation paid or agreed to be paid to me
        within one year before the petition date for services rendered or to be rendered
        in contemplation of or in connection with this case, including payments made to
        me by either the debtor or a third party for any services rendered to the debtor
        within one year before filing of the petition:
         See Attached Continuation Statement No. 6.1.




   6.2. If I am proposed to be employed by the trustee or, in a chapter 11 case, by the
        debtor in possession or a committee of creditors, equity-security holders, or
        retirees, I do not represent or hold an interest adverse to the interest of the
        estate with respect to the matter on which I am proposed to be employed.

If, during this case, any of the above statements ceases to be correct because of events
occurring or information that I gain after the petition date, I agree to immediately file an
amended statement on this form, include “amended” in the title, and clearly identify any
changes.



1114 (12/1/2022)                        Page 3 of 4

                    Case 23-30250-thp11       Doc 26    Filed 02/17/23
I verify under penalty of perjury that the foregoing is true and correct.

Executed on 02/17/2023
            ___________.


                          __________________________________________________
                          /s/Jim Boness
                          Signature of individual proposed to be employed

                          __________________________________________________
                          Jim Boness
                          Printed name of signer

                          __________________________________________________
                          Intellequity Legal Services LLC
                          Address (including firm name, if applicable)

                          __________________________________________________
                          111 SW 5th Ave Ste 3150


                          __________________________________________________
                          Portland, OR 97204




                        LIST OF AFFILIATES OF THE DEBTOR
                         See instructions in paragraph 3 above.

         Name of Affiliate                  Relationship of Affiliate to the Debtor
Roy MacMillan                        Member with ownership interest of 48.958334%

David Flora                          Member with ownership interest of 48.958334%




1114 (12/1/2022)                         Page 4 of 4

                     Case 23-30250-thp11       Doc 26    Filed 02/17/23
       Continuation Statement 6.1




Case 23-30250-thp11   Doc 26   Filed 02/17/23
                                                                                                     Invoice Payments Report
                                                                                                                  02/13/2023
Invoice Payments Report                                                                                            10:48 AM


Date         Client   Matter                          Transaction                               Invoice      Debit     Credit

09/02/2022 RoDa, LLC 00047-22-RODA CORPORATE COUNSEL BOA- Trust                                 17         $554.00

08/25/2022                                            Service : (Jim Boness)                    17                      $0.00

08/25/2022                                            Service : (Jim Boness)                    17                      $6.00

08/25/2022                                            Service : (Jim Boness)                    17                     $42.00

08/25/2022                                            Service : (Jim Boness)                    17                      $0.00

08/29/2022                                            Service : (Jim Boness)                    17                    $168.00

08/29/2022                                            Service : (Jim Boness)                    17                    $168.00

08/30/2022                                            Service : (Jim Boness)                    17                     $10.00

08/30/2022                                            Service : (Jim Boness)                    17                     $28.00

08/31/2022                                            Service : (Jim Boness)                    17                      $6.00

08/31/2022                                            Service : (Jim Boness)                    17                      $6.00

08/31/2022                                            Service : (Jim Boness)                    17                     $26.00

08/31/2022                                            Service : (Jim Boness)                    17                     $32.00

08/31/2022                                            Service : (Jim Boness)                    17                     $62.00

08/31/2022                                            Service : (Jim Boness)                    17                      $0.00

08/31/2022                                            Service : (Jim Boness)                    17                      $0.00

08/31/2022                                            Service : (Jim Boness)                    17                      $0.00

08/31/2022                                            Service : (Jim Boness)                    17                      $0.00

08/31/2022                                            Service : (Jim Boness)                    17                      $0.00

                                                                                                Total:     $554.00    $554.00



Date         Client   Matter                          Transaction                               Invoice      Debit     Credit

10/03/2022 RoDa, LLC 00047-22-RODA CORPORATE COUNSEL BOA- Trust                                 32        $3,722.00

09/01/2022                                            Service : (Jim Boness)                    32                      $0.00

09/01/2022                                            Service : (Jim Boness)                    32                     $80.00

09/01/2022                                            Service : (Jim Boness)                    32                     $26.00

09/02/2022                                            Service : (Jim Boness)                    32                      $0.00

09/02/2022                                            Service : (Jim Boness)                    32                      $0.00

09/06/2022                                            Service : (Jim Boness)                    32                     $18.00

09/06/2022                                            Service : (Jim Boness)                    32                     $10.00

09/06/2022                                            Service : (Jim Boness)                    32                      $0.00

09/06/2022                                            Service : (Jim Boness)                    32                      $0.00

09/06/2022                                            Service : (Jim Boness)                    32                     $80.00

09/06/2022                                            Service : (Jim Boness)                    32                      $0.00

09/06/2022                                            Service : (Jim Boness)                    32                      $0.00

09/06/2022                                            Service : (Jim Boness)                    32                     $24.00




                               Case 23-30250-thp11           Doc 26            Filed 02/17/23                                   1/8
09/07/2022                   Service : (Jim Boness)                    32     $0.00

09/09/2022                   Service : (Jim Boness)                    32    $24.00

09/12/2022                   Service : (Jim Boness)                    32     $4.00

09/12/2022                   Service : (Jim Boness)                    32    $36.00

09/12/2022                   Service : (Jim Boness)                    32     $0.00

09/12/2022                   Service : (Jim Boness)                    32     $6.00

09/12/2022                   Service : (Jim Boness)                    32     $8.00

09/12/2022                   Service : (Jim Boness)                    32    $14.00

09/12/2022                   Service : (Jim Boness)                    32     $0.00

09/12/2022                   Service : (Jim Boness)                    32     $0.00

09/12/2022                   Service : (Jim Boness)                    32     $0.00

09/12/2022                   Service : (Jim Boness)                    32     $0.00

09/12/2022                   Service : (Jim Boness)                    32    $28.00

09/12/2022                   Service : (Jim Boness)                    32     $0.00

09/12/2022                   Service : (Jim Boness)                    32     $0.00

09/12/2022                   Service : (Jim Boness)                    32     $0.00

09/12/2022                   Service : (Jim Boness)                    32     $0.00

09/13/2022                   Service : (Jim Boness)                    32   $180.00

09/13/2022                   Service : (Jim Boness)                    32     $0.00

09/13/2022                   Service : (Jim Boness)                    32    $16.00

09/14/2022                   Service : (Jim Boness)                    32     $8.00

09/14/2022                   Service : (Jim Boness)                    32    $20.00

09/14/2022                   Service : (Jim Boness)                    32     $8.00

09/14/2022                   Service : (Jim Boness)                    32    $12.00

09/14/2022                   Service : (Jim Boness)                    32     $0.00

09/14/2022                   Service : (Jim Boness)                    32     $0.00

09/14/2022                   Service : (Jim Boness)                    32    $20.00

09/14/2022                   Service : (Jim Boness)                    32   $108.00

09/14/2022                   Service : (Jim Boness)                    32     $8.00

09/14/2022                   Service : (Jim Boness)                    32     $6.00

09/14/2022                   Service : (Jim Boness)                    32     $6.00

09/14/2022                   Service : (Jim Boness)                    32     $0.00

09/15/2022                   Service : (Jim Boness)                    32     $8.00

09/15/2022                   Service : (Jim Boness)                    32     $8.00

09/16/2022                   Service : (Jim Boness)                    32     $4.00

09/16/2022                   Service : (Jim Boness)                    32     $8.00

09/16/2022                   Service : (Jim Boness)                    32     $0.00

09/20/2022                   Service : (Jim Boness)                    32     $4.00

09/20/2022                   Service : (Jim Boness)                    32    $50.00

09/20/2022                   Service : (Jim Boness)                    32    $14.00




             Case 23-30250-thp11    Doc 26            Filed 02/17/23                  2/8
09/20/2022                   Service : (Jim Boness)                    32     $0.00

09/21/2022                   Service : (Jim Boness)                    32    $56.00

09/21/2022                   Service : (Jim Boness)                    32    $52.00

09/21/2022                   Service : (Jim Boness)                    32    $66.00

09/23/2022                   Service : (Jim Boness)                    32   $124.00

09/23/2022                   Service : (Jim Boness)                    32     $6.00

09/23/2022                   Service : (Jim Boness)                    32   $272.00

09/23/2022                   Service : (Jim Boness)                    32    $58.00

09/23/2022                   Service : (Jim Boness)                    32     $0.00

09/23/2022                   Service : (Jim Boness)                    32    $64.00

09/23/2022                   Service : (Jim Boness)                    32     $0.00

09/26/2022                   Service : (Jim Boness)                    32    $72.00

09/26/2022                   Service : (Jim Boness)                    32     $8.00

09/26/2022                   Service : (Jim Boness)                    32    $10.00

09/26/2022                   Service : (Jim Boness)                    32    $30.00

09/26/2022                   Service : (Jim Boness)                    32     $8.00

09/26/2022                   Service : (Jim Boness)                    32     $8.00

09/26/2022                   Service : (Jim Boness)                    32     $0.00

09/26/2022                   Service : (Jim Boness)                    32     $6.00

09/26/2022                   Service : (Jim Boness)                    32     $8.00

09/26/2022                   Service : (Jim Boness)                    32    $28.00

09/26/2022                   Service : (Jim Boness)                    32    $86.00

09/26/2022                   Service : (Jim Boness)                    32    $20.00

09/26/2022                   Service : (Jim Boness)                    32    $30.00

09/26/2022                   Service : (Jim Boness)                    32    $90.00

09/27/2022                   Service : (Jim Boness)                    32    $26.00

09/27/2022                   Service : (Jim Boness)                    32     $8.00

09/27/2022                   Service : (Jim Boness)                    32    $28.00

09/27/2022                   Service : (Jim Boness)                    32    $24.00

09/27/2022                   Service : (Jim Boness)                    32     $0.00

09/27/2022                   Service : (Jim Boness)                    32     $0.00

09/27/2022                   Service : (Jim Boness)                    32    $32.00

09/27/2022                   Service : (Jim Boness)                    32   $114.00

09/27/2022                   Service : (Jim Boness)                    32    $14.00

09/27/2022                   Service : (Jim Boness)                    32    $80.00

09/27/2022                   Service : (Jim Boness)                    32     $0.00

09/27/2022                   Service : (Jim Boness)                    32    $20.00

09/27/2022                   Service : (Jim Boness)                    32     $8.00

09/27/2022                   Service : (Jim Boness)                    32    $46.00

09/28/2022                   Service : (Jim Boness)                    32    $18.00




             Case 23-30250-thp11    Doc 26            Filed 02/17/23                  3/8
09/28/2022                                            Service : (Jim Boness)                    32                      $0.00

09/28/2022                                            Service : (Jim Boness)                    32                     $60.00

09/28/2022                                            Service : (Jim Boness)                    32                     $40.00

09/28/2022                                            Service : (Jim Boness)                    32                      $8.00

09/28/2022                                            Service : (Jim Boness)                    32                     $12.00

09/28/2022                                            Service : (Jim Boness)                    32                    $246.00

09/28/2022                                            Service : (Jim Boness)                    32                    $132.00

09/29/2022                                            Service : (Jim Boness)                    32                      $0.00

09/29/2022                                            Service : (Jim Boness)                    32                      $0.00

09/29/2022                                            Service : (Jim Boness)                    32                      $0.00

09/29/2022                                            Service : (Jim Boness)                    32                      $0.00

09/29/2022                                            Service : (Jim Boness)                    32                    $368.00

09/29/2022                                            Service : (Jim Boness)                    32                    $126.00

09/29/2022                                            Service : (Jim Boness)                    32                     $72.00

09/29/2022                                            Service : (Jim Boness)                    32                      $0.00

09/29/2022                                            Service : (Jim Boness)                    32                      $0.00

09/30/2022                                            Service : (Jim Boness)                    32                      $0.00

09/30/2022                                            Service : (Jim Boness)                    32                    $292.00

09/30/2022                                            Service : (Jim Boness)                    32                      $0.00

                                                                                                Total:    $3,722.00 $3,722.00



Date         Client   Matter                          Transaction                               Invoice      Debit     Credit

10/29/2022 RoDa, LLC 00047-22-RODA CORPORATE COUNSEL BOA- Trust                                 41        $2,680.00

10/03/2022                                            Service : (Jim Boness)                    41                      $0.00

10/04/2022                                            Service : (Jim Boness)                    41                    $126.00

10/04/2022                                            Service : (Jim Boness)                    41                     $14.00

10/04/2022                                            Service : (Jim Boness)                    41                     $14.00

10/04/2022                                            Service : (Jim Boness)                    41                      $0.00

10/04/2022                                            Service : (Jim Boness)                    41                      $0.00

10/06/2022                                            Service : (Jim Boness)                    41                     $12.00

10/07/2022                                            Service : (Jim Boness)                    41                     $18.00

10/08/2022                                            Service : (Jim Boness)                    41                     $42.00

10/08/2022                                            Service : (Jim Boness)                    41                     $62.00

10/11/2022                                            Service : (Jim Boness)                    41                    $240.00

10/12/2022                                            Service : (Jim Boness)                    41                      $0.00

10/17/2022                                            Service : (Jim Boness)                    41                     $22.00

10/17/2022                                            Service : (Jim Boness)                    41                     $54.00

10/17/2022                                            Service : (Jim Boness)                    41                     $30.00

10/18/2022                                            Service : (Jim Boness)                    41                      $4.00

10/18/2022                                            Service : (Jim Boness)                    41                      $0.00




                               Case 23-30250-thp11           Doc 26            Filed 02/17/23                                   4/8
10/18/2022                                            Service : (Jim Boness)                    41                    $248.00

10/18/2022                                            Service : (Jim Boness)                    41                     $10.00

10/19/2022                                            Service : (Jim Boness)                    41                      $0.00

10/21/2022                                            Service : (Jim Boness)                    41                     $16.00

10/21/2022                                            Service : (Jim Boness)                    41                     $10.00

10/21/2022                                            Service : (Jim Boness)                    41                     $42.00

10/21/2022                                            Service : (Jim Boness)                    41                      $0.00

10/24/2022                                            Service : (Jim Boness)                    41                      $8.00

10/24/2022                                            Service : (Jim Boness)                    41                      $0.00

10/24/2022                                            Service : (Jim Boness)                    41                    $242.00

10/24/2022                                            Service : (Jim Boness)                    41                    $268.00

10/24/2022                                            Service : (Jim Boness)                    41                    $250.00

10/25/2022                                            Service : (Jim Boness)                    41                     $14.00

10/25/2022                                            Service : (Jim Boness)                    41                     $10.00

10/25/2022                                            Service : (Jim Boness)                    41                     $12.00

10/26/2022                                            Service : (Jim Boness)                    41                     $26.00

10/26/2022                                            Service : (Jim Boness)                    41                    $148.00

10/26/2022                                            Service : (Jim Boness)                    41                     $22.00

10/26/2022                                            Service : (Jim Boness)                    41                     $10.00

10/26/2022                                            Service : (Jim Boness)                    41                     $22.00

10/27/2022                                            Service : (Jim Boness)                    41                     $94.00

10/27/2022                                            Service : (Jim Boness)                    41                     $20.00

10/27/2022                                            Service : (Jim Boness)                    41                    $176.00

10/27/2022                                            Service : (Jim Boness)                    41                     $58.00

10/27/2022                                            Service : (Jim Boness)                    41                     $70.00

10/27/2022                                            Service : (Jim Boness)                    41                     $28.00

10/27/2022                                            Service : (Jim Boness)                    41                     $16.00

10/28/2022                                            Service : (Jim Boness)                    41                      $0.00

10/28/2022                                            Service : (Jim Boness)                    41                      $0.00

10/28/2022                                            Service : (Jim Boness)                    41                    $206.00

10/28/2022                                            Service : (Jim Boness)                    41                     $16.00

                                                                                                Total:    $2,680.00 $2,680.00



Date         Client   Matter                          Transaction                               Invoice      Debit     Credit

11/30/2022 RoDa, LLC 00047-22-RODA CORPORATE COUNSEL BOA- Trust                                 54        $2,174.00

11/01/2022                                            Service : (Jim Boness)                    54                      $0.00

11/02/2022                                            Service : (Jim Boness)                    54                    $340.00

11/02/2022                                            Service : (Jim Boness)                    54                      $4.00

11/02/2022                                            Service : (Jim Boness)                    54                     $14.00

11/02/2022                                            Service : (Jim Boness)                    54                     $32.00




                               Case 23-30250-thp11           Doc 26            Filed 02/17/23                                   5/8
11/02/2022                                            Service : (Jim Boness)                    54                    $298.00

11/02/2022                                            Service : (Jim Boness)                    54                     $12.00

11/03/2022                                            Service : (Jim Boness)                    54                    $378.00

11/04/2022                                            Service : (Jim Boness)                    54                    $326.00

11/04/2022                                            Service : (Jim Boness)                    54                    $162.00

11/04/2022                                            Service : (Jim Boness)                    54                    $238.00

11/04/2022                                            Service : (Jim Boness)                    54                    $140.00

11/09/2022                                            Service : (Jim Boness)                    54                     $16.00

11/14/2022                                            Service : (Jim Boness)                    54                     $94.00

11/14/2022                                            Service : (Jim Boness)                    54                     $10.00

11/14/2022                                            Service : (Jim Boness)                    54                      $8.00

11/15/2022                                            Service : (Jim Boness)                    54                     $38.00

11/15/2022                                            Service : (Jim Boness)                    54                      $0.00

11/15/2022                                            Service : (Jim Boness)                    54                     $46.00

11/15/2022                                            Service : (Jim Boness)                    54                      $0.00

11/28/2022                                            Service : (Jim Boness)                    54                     $14.00

11/28/2022                                            Service : (Jim Boness)                    54                      $4.00

11/28/2022                                            Service : (Jim Boness)                    54                      $0.00

                                                                                                Total:    $2,174.00 $2,174.00



Date         Client   Matter                          Transaction                               Invoice      Debit     Credit

12/30/2022 RoDa, LLC 00047-22-RODA CORPORATE COUNSEL BOA- Trust                                 69        $1,988.00

12/02/2022                                            Service : (Jim Boness)                    69                     $54.00

12/02/2022                                            Service : (Jim Boness)                    69                     $12.00

12/03/2022                                            Service : (Jim Boness)                    69                     $50.00

12/03/2022                                            Service : (Jim Boness)                    69                     $66.00

12/06/2022                                            Service : (Jim Boness)                    69                      $4.00

12/06/2022                                            Service : (Jim Boness)                    69                      $6.00

12/06/2022                                            Service : (Jim Boness)                    69                     $12.00

12/06/2022                                            Service : (Jim Boness)                    69                      $6.00

12/06/2022                                            Service : (Jim Boness)                    69                    $278.00

12/09/2022                                            Service : (Jim Boness)                    69                      $6.00

12/09/2022                                            Service : (Jim Boness)                    69                      $0.00

12/14/2022                                            Service : (Jim Boness)                    69                     $20.00

12/14/2022                                            Service : (Jim Boness)                    69                    $478.00

12/28/2022                                            Service : (Jim Boness)                    69                      $4.00

12/28/2022                                            Service : (Jim Boness)                    69                     $16.00

12/28/2022                                            Service : (Jim Boness)                    69                    $500.00

12/29/2022                                            Service : (Jim Boness)                    69                    $440.00

12/29/2022                                            Service : (Jim Boness)                    69                     $24.00




                               Case 23-30250-thp11           Doc 26            Filed 02/17/23                                   6/8
12/30/2022                                            Service : (Jim Boness)                    69                      $8.00

12/30/2022                                            Service : (Jim Boness)                    69                      $4.00

                                                                                                Total:    $1,988.00 $1,988.00



Date         Client   Matter                          Transaction                               Invoice      Debit     Credit

01/31/2023 RoDa, LLC 00047-22-RODA CORPORATE COUNSEL BOA- Trust                                 88        $1,986.00

12/30/2022                                            Service : (Jim Boness)                    88                      $6.00

01/03/2023                                            Service : (Jim Boness)                    88                      $6.00

01/07/2023                                            Service : (Jim Boness)                    88                     $10.00

01/07/2023                                            Service : (Jim Boness)                    88                      $0.00

01/09/2023                                            Service : (Jim Boness)                    88                    $152.00

01/09/2023                                            Service : (Jim Boness)                    88                     $44.00

01/09/2023                                            Service : (Jim Boness)                    88                    $274.00

01/09/2023                                            Service : (Jim Boness)                    88                      $0.00

01/09/2023                                            Service : (Jim Boness)                    88                      $0.00

01/10/2023                                            Service : (Jim Boness)                    88                     $58.00

01/10/2023                                            Service : (Jim Boness)                    88                    $154.00

01/10/2023                                            Service : (Jim Boness)                    88                     $10.00

01/10/2023                                            Service : (Jim Boness)                    88                      $4.00

01/10/2023                                            Service : (Jim Boness)                    88                     $14.00

01/10/2023                                            Service : (Jim Boness)                    88                    $138.00

01/11/2023                                            Service : (Jim Boness)                    88                      $6.00

01/11/2023                                            Service : (Jim Boness)                    88                    $120.00

01/11/2023                                            Service : (Jim Boness)                    88                     $94.00

01/18/2023                                            Service : (Jim Boness)                    88                      $8.00

01/20/2023                                            Service : (Jim Boness)                    88                     $18.00

01/23/2023                                            Service : (Jim Boness)                    88                    $190.00

01/23/2023                                            Service : (Jim Boness)                    88                     $32.00

01/23/2023                                            Service : (Jim Boness)                    88                      $6.00

01/24/2023                                            Service : (Jim Boness)                    88                     $30.00

01/24/2023                                            Service : (Jim Boness)                    88                     $38.00

01/25/2023                                            Service : (Jim Boness)                    88                    $124.00

01/25/2023                                            Service : (Jim Boness)                    88                     $28.00

01/25/2023                                            Service : (Jim Boness)                    88                      $8.00

01/26/2023                                            Service : (Jim Boness)                    88                     $10.00

01/26/2023                                            Service : (Jim Boness)                    88                     $20.00

01/30/2023                                            Service : (Jim Boness)                    88                    $114.00

01/31/2023                                            Service : (Jim Boness)                    88                    $270.00

                                                                                                Total:    $1,986.00 $1,986.00




                               Case 23-30250-thp11           Doc 26            Filed 02/17/23                                   7/8
Date         Client    Matter                          Transaction                                           Invoice      Debit        Credit

02/03/2023 RoDa, LLC 00047-22-RODA CORPORATE COUNSEL BOA- Trust                                              89        $5,615.00

                                                       Expense : True Retainer Fee Agreement- to secure
02/02/2023                                                                                                   89                     $5,615.00
                                                       lawyers' availability for year. (Jim Boness)

                                                                                                             Total:    $5,615.00 $5,615.00




Type                  Description                                                                         Debit                        Credit

                      Total Payment Received                                                       $18,719.00                           $0.00

Service               Fees reimbursed to Jim Boness                                                       $0.00                    $13,104.00

Interest              Total Interest                                                                      $0.00                         $0.00

Expense               Misc Expenses                                                                       $0.00                     $5,615.00

Misc                  Total Product                                                                       $0.00                         $0.00

Misc                  Total Uncategorized                                                                 $0.00                         $0.00

Tax                   Primary Tax                                                                         $0.00                         $0.00

Tax                   Secondary Tax                                                                       $0.00                         $0.00

Misc                  Overpaid on bills                                                                   $0.00                         $0.00

                                                                     Grand Total:                  $18,719.00                      $18,719.00




                                       Case 23-30250-thp11    Doc 26        Filed 02/17/23                                                      8/8
In re RODA, LLC
Bankruptcy Case No. 23-30250-thp11


                               CERTIFICATE - TRUE COPY

DATE:             February 17, 2023

DOCUMENT:         APPLICATION FOR AUTHORITY TO EMPLOY SPECIAL COUNSEL
                  (Jim Boness of Intellequity Legal Services LLC) AND VERIFIED
                  STATEMENT IN SUPPORT OF EMPLOYMENT APPLICATION

       I hereby certify that I prepared the foregoing copies of the foregoing named
documents and have carefully compared the same with the originals thereof and they
are correct copies therefrom and of the whole thereof.

                               CERTIFICATE OF SERVICE

        I hereby certify that I served copies of the foregoing on:

        RODA, LLC                         Jim Boness
        Roy MacMillan                     Intellequity Legal Services LLC
        20407 SW Borchers Dr.             111 SW 5th Ave Ste 3150
        Sherwood, OR 97140                Portland OR 97204

by mailing copies of the above-named documents to each of the above in a sealed
envelope addressed to the last known address. Each envelope was deposited into the
postal system at Portland, Oregon, on the below date, postage prepaid.
      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

 Dated: February 17, 2023               VANDEN BOS & CHAPMAN, LLP



                                        By:/s/Christopher N. Coyle
                                           Douglas R. Ricks, OSB #044026
                                           Christopher N. Coyle, OSB #073501
                                           Of Attorneys for Debtor-in-Possession




Page 1 – CERTIFICATE OF SERVICE



                     Case 23-30250-thp11       Doc 26    Filed 02/17/23
